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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                           §
Leila Green Little, et al.,                §
                                           §
      Plaintiffs,                          §
                                           §
              v.                           § Civil Action No. 1:22-cv-00424-RP
                                           §
Llano County, et al.,                      §
                                           §
      Defendants.                          §
                                           §
                        PLAINTIFFS’ OPPOSED MOTION TO COMPEL
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        Plaintiffs, by and through their undersigned counsel, hereby move to compel Defendants

to produce non-party and Defendants’ counsel Jonathan Mitchell for a second deposition because

he refused to answer questions during his first deposition based on improper claims of attorney-

client privilege.

        Plaintiffs sought to question Mr. Mitchell concerning his admitted “donation” of certain

books to the Llano County Library, which comprise a secret repository of copies of books

removed from the Library’s shelves (the “Banned Books”), referred to as the “in-house checkout

system.” The existence of and circumstances surrounding the secret library are highly relevant to

issues Defendants have raised in this case: for example, Defendants argue that the purported

availability of the Banned Books through the in-house checkout system “eliminate[s] any

possibility of ‘irreparable harm’ or violation of the plaintiffs’ First Amendment rights[.]” (ECF

No. 117 at 5.) In so doing, Defendants placed the donation and Mr. Mitchell’s reasons for

donating the books in issue, and waived attorney-client privilege as to communications

concerning the donation. Mr. Mitchell should not be permitted to refuse to testify regarding these

matters when Defendants have already waived the privilege he asserted. Moreover, the Court

already overruled Defendants’ privilege objections as to Mr. Mitchell’s testimony concerning his

donation of the Banned Books. 1 The Court should order Mr. Mitchell to testify on these topics.

        Mr. Mitchell also improperly refused to testify regarding library-related legislation he has

drafted and is promoting in Texas and elsewhere. Mr. Mitchell’s legislation and his




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  On similar grounds, Defendants refused to produce documents reflecting contemporaneous
communications between Mr. Mitchell and Defendants regarding Mr. Mitchell’s book donation.
Plaintiffs separately moved to compel production of documents based on Defendants’ waiver of
privilege and the Court’s prior rulings as to Mr. Mitchell’s testimony. For similar reasons, the
Court should also compel Mr. Mitchell to reappear for deposition and order that he must provide
testimony regarding this central issue.


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communications about it reveal antipathy toward libraries, the American Library Association, the

Texas Library Association, and LGBTQ rights—topics directly relevant to his motivations in

donating the banned books to the secret library. Nonetheless, Mr. Mitchell asserted blanket

privilege objections and refused to answer numerous questions about the legislation, his

communications about the legislation, whether he actually has an attorney-client relationship

with the people involved in those communications, and even whether he has engagement letters

with these individuals or has received any compensation for his legal services. This information

is relevant to and probative of Mr. Mitchell’s motivations in donating physical copies of the

Banned Books to the Llano County Library’s secret library and is not protected by either

attorney-client or legislative privilege. The Court should order Mr. Mitchell to testify regarding

these topics.

                                         BACKGROUND

       A.       Mr. Mitchell Donates the Banned Books to the Secret Library

       On July 15, 2022, Defendant Amber Milum, the Director of the Llano County Library

System, signed a declaration stating that physical copies of the Banned Books would be donated

to the library by “a donor who wishes to remain anonymous . . . for inclusion in Llano County’s

‘in-house checkout’ if those books are not already available for checkout through that in-house

checkout system.” (ECF No. 49-1 at ¶ 11.) Defendants relied on Defendant Milum’s assertion to

argue that the “donation of the disputed books to the in-house checkout system . . . eliminate[s]

any possibility of ‘irreparable harm’ or violation of the plaintiffs’ First Amendment rights[.]”

(ECF No. 117 at 5; see also ECF No. 63 at 4, 10, 14 (arguing that Plaintiffs have not been

harmed because “each of the disputed books remains available for the plaintiffs to check

out[.]”).) At the Hearing, Mr. Mitchell made this explicit: “All we’re trying to say is this




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[donation] arrangement is that you haven’t met your burden to show irreparable harm and maybe

not even a violation of First Amendment.” (Hr’g Tr. Vol. 2 at 85:7-9.)

       As Plaintiffs have explained previously, Defendants contrived access to the Banned

Books through the secret library after this lawsuit was filed through the calculated donation of

the Banned Books by Mr. Mitchell. (E.g., ECF No. 59, at 1, 7-10; ECF No. 91, at 1, 20-23.) In

ruling on Plaintiffs’ Motion for Preliminary Injunction, the Court specifically held that

“Defendants’ creation of an ‘in-house checkout system’ comprises precisely the type of

posturing the voluntary cessation exception is meant to prevent,” because the books were

donated by Mr. Mitchell and “not . . . by a neutral benefactor with the intent of making them

available to library patrons.” (ECF No. 133 (“PI Order”) at 12.) The Court further found that Mr.

Mitchell’s actions relating to the book donation were “clearly designed [for] his clients’ litigation

position” and “calculated to promote his clients’ litigation position.” (Id.)

       B.      The Court Overrules Defendants’ Privilege Objections Regarding Mr.
               Mitchell’s Donation of Banned Books

       Defendants initially hid the identity of the anonymous donor. (ECF No. 49-1 ¶ 11

(referring to “a donor who wishes to remain anonymous”); ECF No. 53 ¶ 3.) It was only at the

Hearing that Defendants revealed that their counsel, Mr. Mitchell, is the “anonymous donor.”

Mr. Mitchell objected that this fact was protected by the attorney-client privilege, but the Court

repeatedly overruled the objection and permitted Ms. Milum and Mr. Mitchell to testify about the

donor. (Hr’g Tr. Vol. 1 at 116:12-117:9, 122:10-22; Hr’g Tr. Vol. 2 at 182:10-13.)

       During a sidebar, the Court observed that with respect to the donation of books, Mr.

Mitchell was a fact witness:

       My understanding from the evidence reading between the lines, no pun intended,
       is that Mr. Mitchell donated certain books for the purpose of making them
       available and then when I heard that, frankly, it concerned me that that would
       have potentially made you a fact witness. So I can’t say that that was surprise that
       at some point, they would want to ask a little more about the circumstances.


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(Hr’g Tr. Vol. 2 at 88:4-11.) The Court then overruled Defendants’ counsel’s objections on

relevance and attorney-client privilege grounds and permitted Plaintiffs to question Mr. Mitchell.

(Id. at 181:11-185:10). Mr. Mitchell admitted that he had donated the books, but he would not

provide a substantive response to a key issue relevant to Defendants’ defense—whether he had

proposed making the donations in the first instance.

       Q. (BY MR. BOTKIN) It was you who proposed the books that you donated be
       made available pursuant to the – to the system described in Amber Milum's
       testimony that plaintiffs have described as the secret library and that the
       defendants have characterized as the inhouse checkout system? You would agree–

       A. Really hard to answer that without disclosing communications with my client.
       Do you want me to answer?

       MR. BOTKIN: This was the resolution that we discussed last time we were up
       here.

       THE COURT: I think you should answer the question. Yes, sir.

       A. I honestly don't remember who proposed it.
(Id. at 184:22-185:9.)

       C.      Mr. Mitchell Refuses to Testify Regarding Multiple Deposition Topics on
               Privilege Grounds

       On March 31, 2023, Plaintiffs took the deposition of Jonathan Mitchell pursuant to

Federal Rule of Civil Procedure 45. At that deposition, Mr. Mitchell invoked the attorney-client

privilege to refuse to answer questions concerning two primary deposition topics: (1) his

communications with Defendants concerning his donation of the Banned Books to the Llano

Public Library; and (2) legislative work regarding libraries that Mr. Mitchell is performing in

Texas and elsewhere.

               1.        Testimony Concerning Mr. Mitchell’s Donation of the Banned Books

       At the outset of Mr. Mitchell’s deposition, Mr. Mitchell and Dwain Rogers, another

attorney for Defendants, stated a “blanket objection” to the deposition altogether, “on the

grounds of attorney/client privilege[] [and] attorney work product.” (Decl. of Ellen Leonida Ex.



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1 at 6:14-16, 10:12-16.) Defendants’ counsel agreed that the Court’s prior rulings at the Hearing

overruled their privilege objections to some extent, but stated that they “may have disagreements

over just how far he went in overruling our privilege[] objections.” (Id. at 8:19-21.) Plaintiffs’

counsel reiterated Plaintiffs’ position that the Court’s rulings extended to all questions

concerning Mr. Mitchell’s donation of the Banned Books, but agreed on the record that any

responses provided by Mr. Mitchell would not constitute a broad privilege waiver or prevent

Defendants from later asserting privilege. (Id. at 7:10-17; 9:23-25.)

       Mr. Mitchell provided answers to a limited set of questions concerning his donation of

the Banned Books, but shortly after the deposition commenced, he began refusing to answer on

privilege grounds. Mr. Mitchell refused to answer questions relating to his donation of the

Banned Books, including the following questions:

       •    “Who was on that call [concerning donation of the Banned Books]?”
       •    “How many people were on this call?”
       •    “Were any of the defendants on that call?”
       •    “Did you take any notes during the conversation where you were first thinking about
            donating books to the in-house checkout system?”
       •    “So tell me about that conversation [with Defendants concerning donation of the
            Banned Books].”
       •    “How did you learn of the existence of an in-house checkout system in the Llano
            County library?”
       •    “Did you speak with [Defendants] about donating books to the in-house checkout
            system?”
       •    “Did you speak with [Defendants] on the phone about donating books to the in-house
            checkout system?”
       •    “Did you communicat[e] with [Defendants] via E-mail regarding donating books to
            the in-house checkout system?”
       •    “Did you communicate with [Defendants] via text message regarding books to the in-
            house checkout system?”
       •    “Did you talk to Ms. Milum to confirm whether [the donated Banned Books] had
            arrived at her residence?”
       •    “Before donating books to the in-house checkout system, did you make any effort to
            determine the legality of donating books to the public library?”
       •    “Did you discuss donating books to the library at any of the Commissioners’ Court
            meetings that you attended?”




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       •     “Why did Amber Milum not say in her declaration about the books being donated to
             in-house checkout that she got them from you?”
       •     “Are you aware that Ron Cunningham told Bonnie Wallace that he would shut the
             library if the plaintiffs won this case?”
       •     “What is your hourly rate in this case?”

(Id. at 16:22-17:21, 18:11-17, 19:24-20:4, 21:8-19, 24:5-32:14, 49:17-25, 52:12-17, 56:23-57-11,

109:24-110:12, 112:5-113-7.)

                2.     Testimony Concerning Mr. Mitchell’s Legislative Work

       Mr. Mitchell also—nearly categorically—refused to answer questions relating to

legislation he drafted in the Texas state legislature and elsewhere. While claiming this

information was protected by attorney-client privilege, Mr. Mitchell refused to answer questions

as to the nature of his attorney-client relationships, including how or when the attorney-client

relationships were formed, whether he was on retainer, whether he had written engagement

letters with these individuals, whether he had received payment for legal services for certain

clients, how he keeps track of his clients, and similar questions. (Id. at 68:16-72:5, 93:4-20, 95:5-

96:2, 106:7-24, 117:7-12.) Mr. Mitchell also refused to testify as to the nature of any legislation

he was drafting, or even whether he was or was not drafting legislation at all. (Id. at 70:22-71:20;

77:9-80:18, 94:8-15, 107:7-12.) When publicly available documents relating to these issues were

placed before him, Mr. Mitchell also refused to answer questions about them on privilege

grounds. (E.g., id. at 81:20-83:7 & Mitchell Dep. Ex. 112.) Similarly, when documents

Defendants themselves produced in discovery were placed before him, Mr. Mitchell refused to

answer questions about them on privilege grounds. (E.g., id. at 90:2-93:20 & Mitchell Dep. Exs.

102, 103.)

       D.       Plaintiffs’ Meet and Confer Attempts
       On April 14, 2023, Plaintiffs e-mailed Defendants’ counsel, including Mr. Mitchell,

contesting Mr. Mitchell’s refusal to answer questions relating to certain deposition topics on the




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basis of attorney-client privilege and requesting confirmation as to whether Defendants would

oppose this Motion. (Leonida Decl. Ex. 2.) Mr. Mitchell responded the same day informing

Plaintiffs’ counsel that Defendants would oppose it. (Id.)

                                            ARGUMENT

I.      LEGAL STANDARD

        Under Federal Rule of Civil Procedure 30(a)(2)(A)(ii), “[a] party must obtain leave of

court, and the court must grant leave to the extent consistent with Rule 26(b)(1) and (2): (A) if

the parties have not stipulated to the deposition and: . . . (ii) the deponent has already been

deposed in the case” (emphasis added). Rule 26(b)(1) sets out the broad scope of discovery

available to parties litigating in federal court, permitting:

        discovery regarding any nonprivileged matter that is relevant to any party’s claim
        or defense and proportional to the needs of the case, considering the importance
        of the issues at stake in the action, the amount in controversy, the parties’ relative
        access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the
        proposed discovery outweighs its likely benefit.

Consistent with Rule 26’s broad scope of discovery, second depositions are routinely ordered in

Texas federal courts when additional deposition testimony is needed and plaintiffs were

previously unable to obtain that testimony. E.g., Cornejo v. EMJB, Inc., No. SA-19-CV-01265-

ESC, 2021 WL 3134263, at *1 (W.D. Tex. July 23, 2021) (ordering second deposition of

defendant on limited issue of newly produced documents); Burns v. Goodman, 3:99-CV-00313-

L, 2001 WL 498231, at *1 (N.D. Tex. May 8, 2001), aff’d, 31 F. App’x 835 (5th Cir. 2002)

(ordering “that a second deposition be held during which Goodman would respond to all relevant

questions”).




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II.    PLAINTIFFS ARE ENTITLED TO ADDITIONAL DEPOSITION TESTIMONY
       FROM MR. MITCHELL

       A.      Mr. Mitchell Should Be Compelled to Testify as to the Creation of the In-
               House Checkout System and His Communications Regarding the Same
       Mr. Mitchell’s refusal to testify regarding the circumstances and communications
surrounding his donation of the Banned Books on privilege grounds is improper for two reasons.

First, as Plaintiffs have previously explained, Defendants put those circumstances and

communications in issue in this case by relying on them to support their central defenses and

arguments. It would be inequitable to permit them to rely on the existence of the secret library—

which was engineered by Defendants’ counsel to further Defendants’ litigation positions, and

stocked by Mr. Mitchell himself—“as both a sword and a shield” in this case. Flashmark Techs.

LLC v. GTECH Corp., No. 2:06-CV-205, 2007 WL 9724333, at *3 (E.D. Tex. Aug. 1, 2007).

Yet Mr. Mitchell’s evasive and obstructive answers during his deposition use the attorney-client

privilege as just such an improper “shield.”

       Additionally, the Court has already overruled Defendants’ privilege objections regarding

Mr. Mitchell’s donation of the Banned Books. (Hr’g Tr. Vol. 2 at 184:22-185:9.) The Court’s

prior rulings included privilege objections to a question that Mr. Mitchell himself characterized

as calling for testimony that would likely require “disclosing communications with [his] client”;

the Court squarely ruled that Mr. Mitchell must answer the question anyway. (Id.) This ruling

should—and does—extend to a number of the questions that Mr. Mitchell refused to answer

during his first deposition.

       For example, questions about the conversation during which the idea of creating the

secret library was proposed are plainly relevant to the genesis of and motivations behind its

creation. As the Court has observed, this type of information is highly relevant to the good

faith—or lack thereof—of Defendants, a factor that is central to consider when evaluating

“voluntary governmental cessation” of wrongful conduct. (PI Order at 11 (citations omitted).)

So, too, are the answers to questions relating to the research or preparation undertaken by Mr.

Mitchell and Defendants in anticipation of his donation of the Banned Books, or Defendants’




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strategy of closing the library after they were ordered to make the Banned Books available in the

general catalog as opposed to only in the secret library. This information is critically relevant to

Defendants’ motivation and intent, and Mr. Mitchell should be ordered to testify on these topics.

       B.      Mr. Mitchell Should Be Compelled to Testify as to the Nature of His
               Legislative Work and Related Topics

       Mr. Mitchell’s categorical refusal to answer questions on legislative work he is doing is

also improper. First, the nature of Mr. Mitchell’s work and the characteristics of the relationships

he has with individuals about legislation he drafts is not privileged information. Texas Rule of

Evidence 503(a)(1)(B) extends the attorney-client privilege only to communications made to an

attorney “with a view to obtaining professional legal services” from that attorney. Information

about his engagement, including the existence or contents of an engagement letter or the fees Mr.

Mitchell is receiving, are not communications made for such a purpose, but simply incidental to

the attorney-client relationships he purportedly has. E.g., Duval Cnty. Ranch Co. v. Alamo

Lumber Co., 663 S.W.2d 627, 634 (Tex. App.—Amarillo 1983, writ ref. n.r.e.) (“[T]he attorney-

client privilege does not encompass such nonconfidential matters as the terms and conditions of

an attorney’s employment, the purpose for which an attorney has been engaged, or any of the

other external trappings of the relationship between the parties.”).

       Additionally, “[f]or a communication to be privileged, it must appear that the

communication was made by a client seeking legal advice from a lawyer in her capacity as

such.” State v. Martinez, 116 S.W.3d 385, 393 (Tex. App.—El Paso 2003, no pet.). “[T]he

privilege does not apply if the attorney is acting in a capacity other than that of an attorney.” In

re Texas Farmers Ins. Exch., 990 S.W.2d 337, 340 (Tex. App.—Texarkana 1999, reh’g

overruled). Texas courts have further ruled that the elements of attorney-client privilege should

be “narrowly construed.” Duval Cnty. Ranch Co., 663 S.W.2d at 634. The legislative work




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performed by Mr. Mitchell is outside the scope of communications that would be protected by

the attorney-client privilege under these principles. His outright refusal to answer any of

Plaintiffs’ questions on this point—even questions as to whether he is drafting legislation at all—

is a plainly improper assertion of attorney-client privilege. 2 This is particularly true with respect

to the deposition exhibits Mr. Mitchell outright refused to discuss (Mitchell Dep. Exs. 102, 103,

112), none of which have been held in confidence or which “indicate the client’s desire for

confidence and secrecy,” Martinez, 116 S.W.3d at 393. No basis exists for Mr. Mitchell to assert

attorney-client privilege in response to Plaintiffs’ questions on these topics or documents. He

should be compelled to testify on these topics, too.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant this Motion,

order Defendants to produce non-party and Defendants’ counsel Jonathan Mitchell for a second

deposition, and order Mr. Mitchell to fully respond to all relevant questions, including questions

concerning information over which Defendants have previously improperly asserted the

attorney-client privilege.

       Dated: April 14, 2023                   Respectfully submitted,

                                               /s/ Ellen Leonida
                                               Ellen V. Leonida (CA Bar No. 184194)
                                               Matthew Borden (CA Bar No. 214323
                                               J. Noah Hagey (CA Bar No. 262331)
                                               Max Bernstein (NY Bar No. 5609037)
                                               Ellis E. Herington (CA Bar No. 343085)

2
 To the extent Mr. Mitchell will attempt to claim a legislative privilege over this information,
Texas does not recognize a legislative privilege for private citizens or non-legislative local
officials discussing potential legislation. Only legislators speaking in their official capacity are
afforded that privilege, as derived from the federal and state Speech and Debate Clauses.
Cunningham v. Chapel Hill, ISD, 438 F. Supp. 2d 718, 722 (E.D. Tex. 2006); Clear Lake City
Water Auth. v. Salazar, 781 S.W.2d 347, 349-50 (Tex. App.—Houston [14th Dist.] 1989,
mandamus overruled).


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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2023, a true and correct copy of the foregoing document

was served on all counsel of record who have appeared in this case using the Court’s CM/ECF

system as a Filing User.



                                                    /s/ Ellen Leonida
                                                    Ellen V. Leonida




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